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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


    SEAN S. NEWMAN, as the Administrator of the
    Estates of MICHAEL J. NEWMAN (deceased), and
    DOLORES D. NEWMAN (deceased), individually
    and on behalf of others,
                                  Plaintiff,                    No. 2:23-CV-2391-LDH-ARL

                            vs.                                 NOTICE OF APPEARANCE

    ANDREW M. CUOMO, MELISSA DeROSA,
    HOWARD A. ZUCKER, M.D., GREATER
    NEW YORK HOSPITAL ASSOCIATION,
    KENNETH RASKE, NORTHWELL HEALTH,
    INC., MICHAEL DOWLING, and JOHN
    DOES A-Z,
                                Defendants.

       PLEASE TAKE NOTICE that Nelson A. Boxer of Petrillo Klein & Boxer LLP hereby

   appears in the above-captioned action on behalf of Defendant HOWARD A. ZUCKER, M.D.

   and requests that all notices given or required to be given, and all papers served or required to

   be served, be delivered to the undersigned at the address or email address indicated below.

       I hereby certify that I am admitted to practice before this Court.

    Dated: New York, New York                                /s/ Nelson A. Boxer
           June 7, 2023                                     Nelson A. Boxer
                                                            PETRILLO KLEIN & BOXER LLP
                                                            655 Third Avenue, 22nd Floor
                                                            New York, New York 10017
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